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                                                                    ELECTRONICALLY FILED

                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION AT LEXINGTON

MASTER FILE NO. 5:07-CV-353-JMH


IN RE: CLASSICSTAR MARE LEASE LITIGATION                                   MDL NO. 1877

RELATING TO: ALL CASES

                             STATUS REPORT
                   OF DEFENDANTS GEOSTAR CORPORATION
             TONY FERGUSON, THOM ROBINSON AND JOHN PARROTT

       Defendants GeoStar Corporation (“GeoStar”), Tony Ferguson, Thom Robinson and John

Parrott submit this status report for the Court’s consideration. This report is intended to provide

the Court with information regarding the progress of this litigation, as well as remaining items to

be completed. Defendants also offer a proposal for completing these remaining items on a

schedule that it believes would be fair to the parties.

                                         BACKGROUND

       A.      The Number of Cases in the MDL Has Increased Dramatically.

       This MDL initially consisted of seven cases. The number of cases in the MDL has

tripled since it was originally established, and one other case is currently the subject of a

conditional transfer order entered by the Judicial Panel on Multidistrict Litigation.          The

following cases are now consolidated in this MDL:

Case Name                                             Filing Date     No. of Plaintiffs
West Hills Farms, LLC v. ClassicStar, LLC et al.      7/28/2006       6
(5:06-cv-00243-JMH)
Raifman et al. v. ClassicStar, LLC et al. (5:07-      10/19/2007      5
cv-00347-JMH)
Premiere Thoroughbreds, LLC et al. v.                 10/19/2007      3
ClassicStar, LLC et al. (5:07-cv-00348-JMH)
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J & L Canterbury Farms, LLC et al. v.                 10/19/2007    3
ClassicStar, LLC et al. (5:07-cv-00349-JMH)
Beechglen Farms et al. v. ClassicStar, LLC            10/19/2007    2
(5:07-cv-00350-JMH)
Bissmeyer Properties v. Classicstar et al. (5:07-     10/19/2007    1
cv-00351-JMH)
Spencer Plummer v. GeoStar et al. (5:07-cv-           10/19/2007    1
00352-JMH)
Skinner et al. v. Plummer et al. (5:07-cv-00419-      12/13/2007    2
JMH)
Dumar Horses, L.C. v. ClassicStar, LLC et al.         1/7/2008      1
(5:08-cv-00017-JMH)
Zeus Investments, LLC v. ClassicStar, LLC et al.      1/7/2008      1
(5:08-cv-00018-JMH)
Goyak et al. v. ClassicStar Racing Stable, LLC        1/28/2008     4
et al. (5:08-cv-00053-JMH)
Beechglen Farms et al. v. Plummer (5:08-cv-           2/5/2008      2
00060-JMH)
McNeill v. Geostar et al. (5:08-cv-00074-JMH)         2/14/2008     1
AA-J Breeding, LLC et al. v. GeoStar                  2/14/2008     5
Corporation et al. (5:08-cv-00079-JMH)
Gunshy Thoroughbreds, LLC v. GeoStar                  2/19/2008     1
Corporation (5:08-cv-00103-JMH)
DLJ Family Investment Partners v. GeoStar             2/25/2008     1
Corporation (5:08-cv-00104-JMH)
Ginaldi et al. v. ClassicStar, LLC et al. (5:08-cv-   2/29/2008     2
00109-JMH)
Baker et al. v. Plummer et al. (5:08-cv-00321-        7/21/2008     22
JMH)
MacDonald et al. v. Handler Thayer & Duggan           9/15/2008     3
LLC et al. (5:08-cv-00373-JMH)
Cunningham v. GeoStar Corporation (5:08-cv-           10/9/2008     1
00418-JMH)
Tillotson et al. v. Geostar Financial Services        11/25/2008    2
Corporation et al. (5:08-cv-00487-JMH)


       Based upon conversations counsel for GeoStar has had with other ClassicStar clients and

their lawyers, it is anticipated that additional cases will be filed and subsequently consolidated

with this MDL.




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        B.       The Defendants Have Engaged in the Production of an Enormous Amount of
                 Documents.

        An enormous amount of document discovery has taken place over the past several

months, much of which has been produced by GeoStar. As of this filing, GeoStar has produced

approximately 350,000 pages of documents, including 273,000 pages of its financial records.

GeoStar also produced copies of the ClassicStar, LLC (“ClassicStar”) server, excluding

documents subject to GeoStar’s attorney-client privilege. The server contains literally millions

of pages of documents. During the time ClassicStar was represented by GeoStar’s counsel, it

produced approximately 320,000 pages of documents.                       GeoStar has made subsequent

productions of ClassicStar’s documents as it has received them from other sources. GeoStar is

still being asked to produce documents, such as, for example, all of its production and operation

records pertaining to its business over a span of seven years, regardless of whether they have

anything to do with the business of ClassicStar or any related gas investments.1 Including the

Plaintiffs’ master list of document requests, the West Hills Plaintiffs have now served GeoStar

with seven sets of document requests and recently joined in 69 additional document requests

from the Goyak Plaintiffs.

        C.       The Deposition Phase of Discovery Has Begun, With Dozens of Depositions
                 Remaining to be Taken.

        This litigation has entered the deposition phase of discovery, and GeoStar believes that

approximately one hundred depositions remain to be taken across the numerous cases in this

MDL. Although deposition scheduling remains under discussion among the parties, concerns

have arisen regarding the production of witnesses for multiple depositions – one of GeoStar’s

1
    Responding to this continuing requests is extremely burdensome because electronic data must be searched,
    typically using key words in order to locate responsive documents. While this can be done by using document
    review platforms created by vendors, it is extremely expensive to continually upload potentially responsive
    groups of documents for this purpose.


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primary concerns at the time it moved for the consolidation of cases in this MDL. Presently

pending before the Court is a motion to compel GeoStar to produce a Rule 30(b)(6) designee for

an extensive, five-day deposition covering 39 topics, one of which incorporates 13 separate

topics, for a total of 51 topics.2 This notice was served after GeoStar requested deposition dates

from some Plaintiffs, without any advance discussion with GeoStar, before GeoStar had been

served with the complaint in one of the new cases involving 22 plaintiffs (Baker), and while

other cases are still making their way to the MDL.

        Before scheduling any depositions of Plaintiffs, GeoStar has attempted to coordinate

schedules with counsel for other Defendants. For the most part, however, deposition notices

have been served, discussions regarding the scheduling of those depositions take place, and then

the depositions are rescheduled one or more times.

        This is partly the result of poor coordination and partly due to the fact that an identical

criminal investigation is taking place in Portland, Oregon. Some party witnesses, and even some

non-party witnesses, have retained counsel to advise them with regard to their Fifth Amendment

rights. Thus far, ten witnesses have testified and four witnesses (including one party) have

indicated that they will assert their Fifth Amendment privilege in connection with this litigation.3




2
    The Rule 30(b)(6) notice to GeoStar is attached as Exhibit A. This notice incorporates by reference the
    subpoena of a Rule 30(b)(6) representative of First Source Wyoming, Inc., attached as Exhibit B. First Source
    Wyoming, Inc. is a wholly-owned subsidiary of GeoStar.
3
    West Hills’ reply memorandum in support of its motion to compel the appearance of a Rule 30(b)(6) designee
    of GeoStar incorrectly states in two separate sections that GeoStar’s officers and directors have indicated they
    will assert their Fifth Amendment privilege. This is absolutely incorrect. GeoStar’s officers and directors have,
    instead, previously requested a limited protective order in the interest of providing more time to evaluate the
    status of the criminal investigation so they can make an educated decision on the matter. The only “indication”
    one way or the other on this issue has been the statement by GeoStar’s officers and directors, through counsel,
    that they want to testify. Given the magnitude of the claims asserted by Plaintiffs, as absurdly inflated as they
    may be, the Court should take the importance of the individual Defendants’ Fifth Amendment rights into
    consideration.


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        D.     The Criminal Investigation Appears to be Active.

        The investigation in Portland began with the seizure of documents from ClassicStar’s

property in Kentucky, as well as the business location of Defendant Strategic Opportunity

Solutions, LLC (“Buffalo Ranch”) in Utah. Search warrants were executed for those properties

in February 2006. Witnesses have been interviewed, it is believed that witnesses have testified

before the grand jury, and documents have been produced. GeoStar has recently received a

request for additional information, and it will be responding this week. Although the current

status of the criminal investigation remains unknown, it is notable that the investigation is now

nearly three years in process.

                  ISSUES ON WHICH THE PARTIES NEED GUIDANCE

        A.     The Scheduling Order is No Longer Feasible in Light of the Numerous Cases
               That Have Been Consolidated in This MDL.

        The parties have expended enormous efforts in attempting to understand the various

issues in this litigation. As noted above, this litigation already involves a huge amount of data

and a very large number of documents. Documents are continuing to be produced, as some cases

are relatively new and are not at all developed. Responses to document requests have only

recently been received from some of the new Plaintiffs, and document requests to the Baker

plaintiffs were served on November 19, 2008.

        The current discovery deadline is March 2, 2009.          While that deadline may be

manageable for the plaintiffs in the West Hills case, which was filed first, it is impossible for

GeoStar to complete discovery in all of the cases in which it is a defendant by that date. The

Baker case alone includes 22 plaintiffs, and document discovery has not yet taken place in that

case.




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        These Defendants are not the only ones who believe that additional time for discovery is

necessary. Two Plaintiffs have indicated that they do not oppose an extension of the discovery

period, and other Defendants are in agreement. Although the West Hills Plaintiffs have been

more than willing to move ahead with discovery of Defendants, all but one has failed to provide

dates for their own depositions. Indeed, one of those Plaintiffs has indicated that it is not

available for a deposition until February – the month prior to the current discovery deadline.4

        Defendants understand that discovery needs to move ahead and have already committed

tremendous resources to this process. As explained below, however, this case is not just about

the West Hills plaintiffs. The number of cases in this MDL has tripled since it was first

established. For the discovery process to be manageable for Defendants, an additional six

months should be added to the schedule. Although this new deadline would still be aggressive,

as it would require Defendants to continue ahead with depositions on a weekly basis, Defendants

are willing to attempt to shoulder this burden. Defendants have outlined a specific proposal for

discovery and case management at the end of this report.

        B.       The Parties Need the Court to Bring Order to the Deposition Process.

        The most significant problem with deposition scheduling in this MDL is the lack of

recognition that there is more than one case in this MDL. As noted in the table above, many

cases have been consolidated relatively recently. One other case is subject to a conditional

transfer order from the Judicial Panel on Multidistrict Litigation, and a second may soon be the

subject of such an order. The West Hills Plaintiffs are attempting to force an extensive Rule

30(b)(6) deposition of GeoStar despite the fact that some of the cases are very new, with the




4
    See e-mail attached as Exhibit C.


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Plaintiffs in those cases not even having received documents yet. Likewise, GeoStar has yet to

receive documents from all of the Plaintiffs in the MDL.

        GeoStar is attempting to move forward with discovery in all of the various cases in which

it is involved. In Baker, for example, GeoStar filed a motion to dismiss the complaint on

November 17, 2008 and served on the plaintiffs a master list of document requests, which it

coordinated with counsel for the other defendants in that case, two days later. The 22 plaintiffs

in Baker obviously have not yet had an opportunity to respond to those requests. Similarly, the

plaintiffs in Ginaldi and Goyak have yet to respond to document requests, pursuant to

agreements with the defendants in those cases.               GeoStar is also in the process of serving

document requests in the other cases in which no documents have been produced by the

Plaintiffs.

        Despite the status of the document production, depositions have moved forward. The

scheduling of depositions, however, has been haphazard and uncoordinated. Although counsel

for some parties have coordinated to set aside blocks of dates for depositions in particular

locations, it has been necessary to double-track the deposition schedule.5 During the process of

scheduling depositions, GeoStar and other Defendants have expressed concerns about the

possibility of duplicative depositions of the same witnesses.6 These concerns are well-founded

not just because cases are continuing to be consolidated with the MDL, but because one group of




5
    With the exception of one day, the double-tracked depositions that were scheduled did not go forward due to
    eleventh hour contact from witnesses and their counsel.
6
    Counsel for both Private Consulting Group and Handler Thayer & Duggan have expressed this concern.


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Plaintiffs has already attempted to reserve the right to re-depose a third-party witness as a result

of the double-tracking of depositions.7

        In their caustic reply memorandum in support of their motion to compel the appearance

of a Rule 30(b)(6) designee, the West Hills plaintiffs argued that GeoStar is attempting to obtain

an indefinite stay of that discovery, as cases may continue to trickle in to this MDL. Plaintiffs

are again mistaken. GeoStar recognizes that Plaintiffs are entitled to proceed with discovery, just

as GeoStar is entitled to coordination and the avoidance of duplicative depositions.

        C.       Plaintiffs Need to Appoint Liaison Counsel.

        As noted above, this litigation has proceeded not so much as an MDL, but as a number of

separate lawsuits that happen to be taking place at the same time.                        For example, when

Defendants previously sought a limited protective order in connection with providing testimonial

evidence, they could not obtain an agreement with all Plaintiffs. Agreed orders were entered in

some cases, but the motion was fully briefed in another because those Plaintiffs did not agree

with the negotiated resolution. Scheduling depositions has been more difficult because counsel

for all parties are not involved with the discussions regarding potential dates. These Defendants

believe that scheduling matters, in particular, would be easier to handle if Plaintiffs had one or

two designated lawyers for the purpose of coordinating the schedule. Although coordinating

schedules has not been as much of a problem for Defendants, these Defendants suggest that

liaison counsel be appointed for the Defendants for the same reasons.




7
    See deposition of Gary Thomson, pp. 161-162 (Goyak Plaintiffs attempting to reserve the right to re-depose
    Chad Vanderlinden, whose deposition was being taken at the same time as the Thomson deposition). Cited
    pages of this transcript are attached as Exhibit D.


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                                  DEFENDANTS’ PROPOSAL

        Keeping in mind all of the foregoing, and in an attempt to arrive at a schedule that is

reasonable for all of the parties, GeoStar proposes the following:

        1.      The deadline for fact discovery should be extended by six months to September 4,

2009. GeoStar anticipates that it will still need to take an average of ten depositions per month if

the extension is granted, and other parties will also be taking depositions. This extension,

therefore, would still result in a very aggressive discovery schedule, and any shorter time period

would be too burdensome. All other deadlines should be extended accordingly.

        2.      The parties should exchange lists of witnesses they wish to depose by December

15, 2008. The parties should confer as a group or through liaison counsel by December 19, 2008

to coordinate the scheduling of depositions and should confer on a monthly basis thereafter in an

effort to set deposition dates.

        3.      The Court should set a deadline of January 1, 2009 for the parties to propound

written discovery requests. Plaintiffs and Defendants should be required to coordinate written

discovery requests through “master lists” in accordance with the Court’s Amended Practice and

Procedure Order.     This will prevent individual Plaintiffs from inundating Defendants with

written discovery requests that are duplicative of previously-served requests. All objections to

these requests should be made by February 1, 2009, and all discovery disputes regarding those

objections should be resolved by February 21, 2009, either by agreement or through a conference

with Judge Todd. In the event that a conference with Judge Todd is necessary for this purpose,

his ruling on the objections should be final.

        4.      GeoStar will produce a Rule 30(b)(6) designee during the week of May 4, 2009,

to testify regarding a reasonable scope of issues. Plaintiffs and any other parties wishing to

participate in the Rule 30(b)(6) deposition will send a list of proposed topics of testimony to
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 counsel for GeoStar on or before April 6, 2009.         The parties will attempt to resolve any

 objections to the scope of the notice on or before April 10, 2009. In the event the parties are

 unable to resolve any dispute regarding the scope, the parties will participate in a hearing with

 Judge Todd during the week of April 13, 2009. Judge Todd’s ruling on the objections should be

 final so that the parties may proceed with the deposition without the delay associated with

 requesting review of that ruling.

        5.      In the event that other cases are added to this MDL after May 4, 2009, those

 parties may have the opportunity to take a subsequent Rule 30(b)(6) deposition of GeoStar.

 However, the examination in any such deposition should be limited to matters not previously

 covered in the earlier Rule 30(b)(6) deposition and the questioning should be limited to parties

 whose cases are consolidated after May 4, 2009.

        6.      Deposition transcripts will be made available to parties in cases consolidated with

 this litigation subsequent to the taking of those depositions, subject to appropriate protective

 orders. Those depositions may be used in the newly-added cases as if those Plaintiffs were

 parties to this MDL at the time the depositions were taken.

        7.      The Court should order that witnesses may be deposed only once in this litigation.

 This will encourage the parties to coordinate the scheduling of depositions. The exception to this

 rule should be that parties in later-added cases may have the opportunity to depose such

 witnesses with regard to any issues not covered in the prior deposition.

        8.      Depositions of any parties who indicate that they are considering asserting their

 Fifth Amendment privilege should be deferred until June 2009.              The scheduling of those

 depositions at that time should be given priority over the scheduling of any other depositions so

 that dates are made available.      By deferring these depositions, the parties whose Fifth



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 Amendment privilege may be implicated are provided additional time to evaluate their status in

 light of the progress of the identical, parallel criminal investigation. The Plaintiffs would not be

 prejudiced by this extension, as they would have a full three months remaining prior to the

 discovery deadline – the same amount of time they would have under the current scheduling

 order.

          9.    In the interest of coordinating deposition scheduling and other discovery matters,

 Plaintiffs should designate one or two lawyers as liaison counsel with authority to agree to dates

 for depositions and any other matters of timing that are typically handled by agreement of

 counsel. Defendants should likewise designate two lawyers for this purpose.

                                               Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         I, Brian M. Johnson, electronically filed the foregoing document through the ECF system
 on December 1, 2008, which will send a notice of electronic filing to the following counsel of
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